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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SPIRE GLOBAL, INC.,                           )
                                              )
                      Plaintiff,                   C.A. No. 25-CV-168-GBW
                                              )
       v.                                     )
KPLER HOLDING SA,                             )
                                              )
                      Defendant.              )

                                      NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on March 14, 2025, true and correct copies of: (i) Plaintiff’s

First Set of Interrogatories to Defendant; (ii) Plaintiff’s First Set of Requests for Admission to

Defendant; and (iii) Plaintiff’s Second Set of Requests for Production of Documents to Defendant

were served on the following counsel via electronic mail:

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Dated: March 14, 2025




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